Case 2:04-cr-20450-.]DB Document 35 Filed 05/03/05 Page 1 of 2 PagelD 5

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lN THE UN|TED STATES D|STR|CT COUFtT l
FOR THE WESTEFtN DlSTRlCT OF TENNESSEE 551; ..3 pit 2: 26
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UN|TED STATES OF Al\/lERICA,
Plaintiff,

VS.
CFt. NO. 04-20450-B

ROSETTA PERK!NS BROWN,
LAFtFtY VERNELL BULLOCK,

DefendantS.
`\

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 25, 2005. At that time, counsel forthe
defendant requested a continuance of the l\/lay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Nlondav. Jul\llr 25. 2005. at 9:30 a.m., in Courtroom 1, 11th Floor of the
Federal Buildingl l\/lemphis, Tl\l.

The period from l\/lay 13, 2005 through August 12, 2005 is excludable under 18

U.S.C. § 31 61 (h)(8)(B)(i\/) because the ends ofiustice served in allowing for additional time

to prepare outweigh the need for a edy tria}.“l
|T lS SO OFtDERED this 32 day otApo;ill-2005.

 

J. D NlEL BFtEEN

UN| ED STATES DlSTR|CT JUDGE
This document entered on the docket§heet in/compliance
with sole ss and/or szrb) rach on .` “ 135

 

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US DISTRICT COURT

